        Case 2:24-cv-00867-CDS-DJA           Document 48        Filed 07/31/24      Page 1 of 1



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 2                                 UNITED STATES DISTRICT COURT
                                        DISTRICT OF NEVADA
 3

4 Wendell Brown,                                           Case No. 2:24-cv-00867-CDS-DJA

 5                        Plaintiff                    Ordering Granting Plaintiff’s Motion to
                                                        Withdraw and Denying Defendant’s
 6     v.                                                  Motion to Set Aside as Moot

 7 Bank of America, N.A.,
                                                                [ECF Nos. 35, 36, 40, 47]
 8                        Defendant

 9

10          Plaintiff Wendell Brown seeks to withdraw his motion for default judgment (ECF No.
11 35) and motion for writ of execution (ECF No. 36) filed on June 17, 2024. ECF No. 47. Brown

12 moves to withdraw the earlier filed motions because the Eighth Judicial District Court set aside

13 the clerk’s default entered against defendant Bank of America. Id.

14          Therefore, Brown’s request to withdraw [ECF No. 47] is granted; and defendant Bank
15 of America’s motion to set aside default [ECF No. 40] is denied as moot.

16          Dated: July 31, 2024
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18                                              Cristina D. Silva
                                                United States District Judge
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